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                 EXHIBIT 1
                                      10
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BERKLEY INSURANCE COMPANY                                                                                       Declarations Page
A Stock Insurance Company


                                   Lawyers Professional Liability Insurance
NOTICE: THIS POLICY PROVIDES COVERAGE ON A CLAIMS MADE AND REPORTED BASIS SUBJECT TO ITS TERMS. THIS POLICY APPLIES ONLY
TO ANY CLAIM FIRST MADE AGAINST THE INSUREDS AND REPORTED TO THE INSURER DURING THE POLICY PERIOD OR ANY EXTENDED
REPORTING PERIOD THAT MAY APPLY.
PLEASE READ AND REVIEW THE POLICY CAREFULLY AND DISCUSS THE COVERAGE WITH YOUR INSURANCE AGENT OR BROKER.
IF INDICATED IN ITEM 5. A. BELOW, THE LIMIT OF LIABILITY AVAILABLE TO PAY DAMAGES OR SETTLEMENTS SHALL BE REDUCED AND MAY
BE COMPLETELY EXHAUSTED BY AMOUNTS INCURRED AS LEGAL DEFENSE COSTS. THE INSURER SHALL NOT BE LIABLE FOR LEGAL
DEFENSE COSTS OR FOR THE AMOUNT OF ANY JUDGMENT OR SETTLEMENT AFTER EXHAUSTION OF THE LIMIT OF LIABILITY.

Whenever printed in this Declarations Page, the boldface type terms shall have the same meanings as indicated in the Policy.

Item 1.     Name and Address of Named Insured:                                                        Policy Number: PLP-1763815-P1

            Michael H. Weiss, P.C.
            Suite 401
            6310 South San Vicente Bouelvard
            Los Angeles, CA 90048

Item 2.     Policy Period:         From June 12, 2019 (inception date) to June 12, 2020 (expiration date)

                                   (Both dates at 12:01 a.m. Standard Time at the address of the Named Insured)

Item 3.     Limits of Liability for the Policy Period:

                                   A.   $1,000,000 each Claim, but in no event exceeding

                                   B.   $1,000,000 in the aggregate for all Claims

Item 4.     Supplemental Coverages Limit of Liability:

                                        $100,000     in the aggregate for all Supplemental Coverages during the Policy Period

Item 5.      Claim Expenses for the Policy Period:

                             IX] A.     Claim Expenses Reduce the Limit of Liability in Item 3. above

                             D     B.   Claim Expenses in Addition to the Limit of Liability in Item 3. above

                           Claim Expense Limit: N/A in the aggregate for all Claims during the Policy Period

Item 6.      Deductible:

                             □     A.   Aggregate Deductible - All Claims                   N/A

                             !XI   B.   Each Claim Deductible                               $5,000

                                        IX] i.    The Deductible applies to Damages and Claim Expenses

                                        □   ii.   The Deductible applies only to Damages

Item 7.      Premium:                   $5,803




 LPL 39451 (rev. 07-16)                                      Producer: Andrea S. Ferguson                                       Page 1 of2
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BERKLEY INSURANCE COMPANY



 Item 8.     Forms and Endorsements attached at inception:           LPL 39450 ( 10-14)
             1     701-CR-             (04-19)          CLAIM REPORTING PROCEDURES
             2     LPL 101101-CW       (rev. 04-17)     Amend Insuring Agreement to Remove Career Coverage
             3     LPL 101901          (05-14)          Addition of Prior Acts Date
             4     LPL 400906-CW       (10-14)          Specific Cla im or Incident Exclusion
             5     LPL 400907-CW       (10-14)          Specific Entity Exclusion

 Item 9.     Notice to the Insurer as provided in section V. A. shall be sent   All other notices to be given to the Insurer shall be sent to:
             to:
             Berkley Select Claims Department on behalf of                      Berkley Select on behalf of
             Berkley Insurance Company                                          Berkley Insurance Company
             233 S. Wacker Drive, Suite 3900, Chicago, IL 60606                 233 S. Wacker Drive, Suite 3900, Chicago , IL 60606
             Toll Free: (844) 465-6256 Fax: (312) 207-1933                      Toll Free: (800) 446-2100
             Email: newc!aim@berkleyselect.com




 These Declarations along with the completed and signed Application and the Lawyers Professional liability Insurance Policy shall constitute
 the contract between the Named In sured and the Insurer.


  Authorized Representative:                                                                         Date Issued: June 13, 2019


  LPL 39451 (rev. 07-16)                                   Producer: Andrea S. Ferguson                                           Page 2 of 2

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Berkley Insurance Company


                                                        BERKLEY SELECT

                                                       CLAIM REPORTING
                                                         PROCEDURES


  In the event of an incident which may result in a claim, an actual claim or your receipt of suit papers, please follow
  the procedures outlined below:

              NOTICE OF EACH INCIDENT, CLAIM OR SUIT SHOULD IMMEDIATELY BE REPORTED TO:

                                           BERKLEY SELECT CLAIMS DEPARTMENT
                                            on behalf of Berkley Insurance Company
                                              233 S. WACKER DRIVE, SUITE 3900
                                                       CHICAGO, IL 60606
                                                          Fax: (312) 207-1933
                                              E-mail: newclaim@berkleyselect.com
                                     Online: www.berkleyselect.com/claims/report;:laim

  TO ENABLE US TO RESPOND MORE QUICKLY AND EFFICIENTLY, please fax or email any pertinent details
   of the claim directly to our attention.

                                                  PLEASE BE SURE TO INCLUDE:

                        • Your Name, Address and Phone Number;
                        • Your Policy Number and the Policy Period;
                        • A written narrative of the circumstances surrounding the claim or potential claim;
                        • Names and addresses of the claimant;
                        • Details of the any underlying claim, including current status and the amount
                           in controversy or relief demanded.
                        • If you are submitting the report by mail or fax, please also include any letters
                          of demand or any legal papers which you have received regarding the claim.

   Please provide your professional liability insurance agent a copy of all claim notices and
   correspondence sent to Berkley Select.




Whenever printed in this Endorsement, the boldface type terms shall have the same meanings as indicated in the Policy Form. All other provisions of
the Policy remain unchanged.
Insured
Michael H. Weiss P.C.
                                                                                     IPolicy Number
                                                                                     PLP-1763815-P1
Effective Date of This Endorsement                                I Authorized Representative
06/12/2019
Policy Form: LPL 39450 (10-14)                             34727-1763815-1823755                                                1 - 701-CR- (04-19)

                                                                      11
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Berkley Insurance Company


                     Amend Insuring Agreement to Remove Career Coverage


In consideration of the premium paid for this Policy, it is understood and agreed that:
1.       Section I. Insuring Agreement A. Lawyers Professional Liability Insurance Coverage of this Policy is deleted in its entirety and
         replaced with the following:
         I. A.    Lawyers Professional Liability Insurance Coverage
                  The Insurer agrees to pay on behalf of the Insured all sums in excess of the deductible, up to the Limit of Liability,
                  that the Insured shall become legally obligated to pay as Damages and Claim Expenses because of a Claim that is
                  both first made against the Insured and reported in writing to the Insurer during the Policy Period, or any Extended
                  Reporting Period, if applicable, by reason of an act or omission in the performance of Legal Services by the Insured
                  or by any person for whom the Insured is legally liable, while acting on behalf of the Named Insured and/or
                  Predecessor Finn for clients of the Named Insured and/or Predecessor Finn provided that:
                  1.         no Insured gave notice to a Prior Insurer of such Claim or a Related Claim; and/or
                  2.         no Insured gave notice to a Prior Insurer of any such act or omission or Related Act or Omission; and/or
                  3.         prior to the inception date of the first policy if continuously renewed, or the date the Insured first became a
                             member or employee of the Named Insured and/or Predecessor Firm, whichever is later, no Insured had
                            a basis to believe that any such act or omission, or Related Act or Omission, might reasonably be
                            expected to be the basis of such Claim.




 Whenever printed in this Endorsement, the boldface type terms shall have the same meanings as indicated in the Policy Form. All other provisions of
 the Policy remain unchanged.
 Insured
 Michael H. Weiss. P.C.
                                                                                      I Policy Number
                                                                                        PLP-1763815-P1
 Effective Date of This Endorsement
 06/12/2019
                                                                   l   Authorized Representative

 Policy Form: LPL 39450 (10-14)                             32125-1763815-1823755                                    2- LPL 101101-CW (rev. 04-17)
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Berkley Insurance Company


                                               Addition of Prior Acts Date


In consideration of the premium paid for this Policy, it is understood and agreed that:
1.      Section I. Insuring Agreement A. Lawyers Professional Liability Insurance Coverage of this Policy is amended by the addition
        of the following:
        I. A.     Lawyers Professional Liability Insurance Coverage
                  4.       the act or omission occurred on or after June 12, 2019.




 Whenever printed in this Endorsement, the boldface type terms shall have the same meanings as indicated in the Policy Form. All other provisions of
 the Policy remain unchanged.
 Insured
 Michael H. Weiss P.C.
                                                                                     IPolicy Number
                                                                                      PLP-1763815-P1
 Effective Date of This Endorsement
 06/12/2019
                                                                   I Authorized Representative

 Policy Form: LPL 39450 (10-14)                             27266-1763815-1823755                                            3 - LPL 101901 (05-14)
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Berkley Insurance Company


                                       Specific Claim or Incident Exclusion


In consideration of the premium paid for this Policy, it is understood and agreed that:
1.       Section IV. Exclusions of this Policy is amended by the addition of the following:
         IV.      This Policy does not apply to any Claims based on, arising from, or in any way involving any of the following matters:
                                                      Description of Excluded Claims and or Incident
                  Deborah Turnbull




 Whenever printed in this Endorsement, the boldface type terms shall have the same meanings as indicated in the Policy Form. All other provisions of
 the Policy remain unchanged.
 Insured
 Michael H. Weiss. P.C.
                                                                                     IPolicy Number
                                                                                      PLP-1763815-P1
 Effective Date of This Endorsement
 06/12/2019
                                                                   I Authorized Representative

 Policy Form: LPL 39450 (10-14)                             27592-1763815-1823755                                       4- LPL 400906-CW (10-14)
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Berkley Insurance Company                                                                                                         Page 1 of 1




                                                 Specific Entity Exclusion



In consideration of the premium paid for this Policy, it is understood and agreed that:
1.       Section IV. Exclusions of this Policy is amended by the addition of the following:
         IV.      This Policy does not apply to any Claims made against any Insured based on, or arising from, or in any way
                  involving an act or omission in the performance of Legal Services by or for the entity or individual listed below:
                  Recovery Coaching Inc
                  SFTX-FUEL, LLC
                  Wallis Corp.




 Whenever printed in this Endorsement, the boldface type terms shall have the same meanings as indicated in the Policy Form. All other provisions of
 the Policy remain unchanged.
 Insured
 Michael H. Weiss P.C.
                                                                                      IPolicy Number
                                                                                       PLP-1763815-P1
 Effective Date of This Endorsement
 06/12/2019
                                                                   I  Authorized Representative

 Policy Form: LPL 39450 (10-14)                             27593-1763815-1823755                                       5- LPL 400907-CW (10-14)
                                                                          17
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                                     Berkley Insurance Company

                          Lawyers Professional Liability
                                Insurance Policy
                                           CLAIMS MADE NOTICE FOR POLICY
NOTICE: THIS POLICY PROVIDES COVERAGE ON A CLAIMS MADE AND REPORTED BASIS SUBJECT TO ITS
TERMS. THIS POLICY APPLIES ONLY TO ANY CLAIM FIRST MADE AGAINST THE INSUREDS ANO REPORTED TO
THE INSURER DURING THE POLICY PERIOD OR ANY EXTENDED REPORTING PERIOD THAT MAY APPLY.
PLEASE READ AN D REVIEW THE POLICY CAREFULLY AND DISCUSS THE COVERAGE WITH YOUR INSURANCE
AGENT OR BROKER.

   In consideration of the payment of the premium, in reliance on all statements in the application and all other information
   provided to the Insurer, and subject to all provisions of this Policy , the Insurer and Insureds agree as follows:
I. Insuring Agreement
   A. Lawyers Professional Liability Insurance Coverage
       The Insurer agrees to pay on behalf of the Insured all sums in excess of the deductible, up to the Limit of Liability ,
       that the Insured shall become legally obligated to pay as Damages and Claim Expenses because of a Claim that is
       both first made against the Insured and reported in writing to the Insurer during the Policy Period or any Extended
       Reporting Period , if applicable, by reason of an act or omission in the performance of Legal Services by the Insured or
       by any person for whom the Insured is legally liable, provided that
       1.   no Insured gave notice to a Prior Insurer of such Claim or a Related Claim; and
       2.   no Insured gave notice to a Prior Insurer of any such act or omission or Related Act or Omission; and
       3.   prior to the date an Insured first becomes an Insured under this Policy or became an Insured under the first
            policy issued by the Insurer (or its subsidiary or affiliated insurers) to the Named Insured or any Predecessor
            Firm, whichever is earlier, of which this Policy is a renewal or replacement, no Insured had a basis to believe that
            any such act or omission, or Related Act or Omission , might reasonably be expected to be the basis of such
            Claim.
   B. Defense
       The Insurer shall have the right and duty to defend, in the lnsured's name and on the lnsured's behalf, a Claim
       seeking Damages covered by this Policy even if any of the allegations of the Claim are groundless , false or fraudulent.
       The Insurer shall have the right to appoint counsel and to make such investigation and defense of a Claim as is
       deemed necessary by the Insurer. If a Claim shall be subject to arbitration or mediation , the Insurer shall be entitled to
       exercise all of the lnsured's rights in the choice of arbitrators or mediators and in the conduct of an arbitration or
       mediation proceeding.
   C. Settlement
       The Insurer shall not settle any Claim without the Named lnsured's consent. If, however, the Named Insured shall
       refuse to consent to any settlement recommended by the Insurer, which is acceptable to the claimant, and shall elect
       to contest the Claim, or continue any legal, administrative, or arbitration proceedings in connection with such Claim,
       then the Insurer's liability for the Claim shal l not exceed the amount for which the Claim could have been settled,
       including Claim Expenses incurred up to the date of such refusal. Such amounts are subject to the provisions of
       section II. Limits of Liability and Deductible. In the event that the Named Insured refuses to consent to any settlement
       recommended by the Insurer, which is acceptable to the claimant, the Insurer's right and duty to defend sucl1 Claim
       shall end upon the date of such refusal.
   D. Exhaustion of Limit
        The Insurer is not obligated to investigate, defend, pay or settle, or continue to investigate , defend , pay or settle a
        Claim after the applicable limit of the Insurer's liability has been exhausted by payment of Damages or Claim
        Expenses or by any combination thereof or after the Insurer has deposited the remaining available Limit of Liability
        into a court of competent jurisdiction. In such case, the Insurer shall have the right to withdraw from the further
        investigation, defense, payment or settlement of such Claim by tendering control of said investigation, defense or
        settlement of the Claim to the Insured.




LPL 39450 (10-14)                                                                                                     Page 1 of 10
The descriptions in the headings of this Policy are solely for convenience, and form no part of the terms and conditions of coverage.




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BERKLEY INSURANCE COMPANY

II. Limits of Liability and Deductible
  A. Claim Expenses Reduce the Limit of Liability
       1.   If option A. "Claim Expenses Reduce the Limit of Liability" is purchased as indicated in Item 5. of the Declarations,
            the Limit of Liability stated in Item 3. A. of the Declarations is the Insurer's Limit of Liability for al l Damages and
            Claim Expenses arising out of each Claim first made against the Insured and reported to the Insurer during the
            Policy Period and any Extended Reporting Period(s) that may apply.
       2.   The Limit of Liability stated in Item 3. B. of the Declarations is the Insurer's maximum aggregate Limit of Liability
            for all Damages and Claim Expenses arising out of all Claims first made against the Insured and reported to the
            Insurer during the Policy Period and any Extended Reporting Period(s) that may apply regardless of the number
            of Insureds , Claims made, or persons or entities bringing such Claims.
   B. Claim Expenses in Addition to the Limit of Liability
       1.   If option B. "Claim Expenses in Addition to the Limit of Liability" is purchased as indicated in Item 5. of the
            Declarations, the Limit of Liability stated in Item 3. A. of the Declarations is the Insurer's Limit of Liability for all
            Damages arising out of each Claim first made against the Insured and reported to the Insurer during the Policy
            Period and any Extended Reporting Period(s) that may apply. There sha ll be a separate and equa l Limit of Liability
            applicable to Claim Expenses for any such Claim.
       2.   The Limit of Liability stated in Item 3. B. of the Declarations is the Insurer's maximum aggregate Limit of Liability
            for all Damages arising out of all Claims first made against the Insured and reported to the Insurer during the
            Policy Period and any Extended Reporting Period(s) that may apply regardless of the number of Insureds,
            Claims made, or persons or entities bringing such Claims. There shall be a separate and equal aggregate Limit of
            Liability applicable to Claim Expenses for all Claims first made against the Insured and reported to the Insurer
            during the Policy Period and any Extended Reporting Period(s) that may apply, regardless of the number of
            Insureds , Claims made, or persons or entities bringing such Claims .
   C. Deductible
       1.   If option A. "Aggregate Deductible - All Claims" is selected in Item 6. of the Declarations, the Deductible amount
            stated in Item 6. A. is the total amount of the lnsured's liabi lity for al l Claims first made and reported to the
            Insurer during the Policy Period. The Deductible shall be paid by the Named Insured, or upon the Named
            lnsured's fa ilure to pay, jointly and severally by all Insureds against whom the Claim is made. The Lim its of
            Liability set forth in the Declarations are in addition to and in excess of the Deductible .
       2.   If option B. "Each Claim Deductible" is purchased in Item 6. of the Declarations, the Deductible amount shall apply
            to each and every Claim first made and reported to the Insurer during the Policy Period. The Deductible shall be
            paid by the Named Insured , or upon the Named lnsured's failure to pay, jointly and severally by all Insureds
            against whom the Claim is made. The Limits of Liability set forth in the Declarations are in addition to and in
            excess of the Deductible.
       3.   If option i. "Deductible applies to Damages and Claim Expenses " is selected as indicated in Item 6 . of the
            Declarations, the Insurer shall be liable for the amount of Damages and / or Claim Expenses arising from a
            Claim which is in excess of the Deductible amount stated in Item 6. of the Declarations.
       4.   If option ii. "Deductible applies only to Damages" is purchased as indicated in Item 6. of the Declarations, the
            Insurer shall be liable for the amount of Damages arising from a Claim which is in excess of the Deductible stated
            in Item 6. of the Declarations. No Deductible shall apply to Claim Expenses .
       5.   The Insurer has the right, but not the ob ligation , to advance any Damages and / or Claim Expenses within the
            Deductible. Any funds advanced by the Insurer shall serve to reduce the Limits of Liability. If the Insurer brings
            suit to collect the Deductible, then the Insured respon sible to pay the Deductible also shall pay the legal fees ,
            costs and expenses incurred by the Insurer to collect the Deductible.
   D. Multiple In sureds , Claims and Claimants
       The Limits of Liability shown in the Declarations and subject to the provisions of this Policy is the maximum amount the
       Insurer will pay as Damages and Claim Expenses regardless of the number of Insureds, Claims made or persons or
       entities making Claims . If Related Claims are subsequently made again st the Insured and reported to the Insurer, all
       such Related Claims, whenever made, sha ll be considered a sing le Claim first made and repor1ed to the Insurer
       within the Policy Period in which the earl iest of the Related Claims was first made and reported to the Insurer.




LPL 39450 (10-14)                                                                                                    Page 2 of 10
The descriptions in the headings of this Policy are solely for convenience, and form no part of the terms and conditions of coverage.
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BERKLEY INSURANCE COMPANY

   E. Aggregate Limit for Supplementa l Coverages
        For the Suppl~mental _Coverages described in this section II . E., the Insurer shall reimburse the Insureds, up to the
        a~g_regate l1m_1t stated 1n Item 4. of the Declarations. The Limit for Supplemental Coverages shall be in addition to the
        L1m1ts stated 1n Item 3. of the Declarations. No Deductible shal l apply to any of the Supplemental Coverages listed in
        this section II. E.
        In no event shall the amount payable for the Supplemental Coverages per Policy Period exceed the aggregate limit
        stated in Item 4. of the Declarations for the Supplemental Coverages despite the number of Insureds hereunder, the
        number of potential Claims or the number of proceedings.
        1. Attendance at Trial
             If during the Policy Period the Insurer requests an lnsured's attendance at a trial, hearing or other alternative
             dispute resolution proceeding (including arbitration proceeding or mediation) in connection with a Claim against
             such Insured, then the Insurer will pay for actual loss of earnings and reasonable costs incurred by the Insured to
             attend.
        2.   Disciplinary Proceedings
             The Insurer wi ll reimburse the Named Insured for attorney fees and other reasonable costs, expenses or fees
             (the "Disciplinary Fees") paid to third parties (other than an Insured) resulting from any one Disciplinary
             Proceeding incurred as the resu lt of a notice of such Disciplinary Proceeding both first received by the Insured
             and reported in writing to the Insurer either during the Policy Period or within 60 days after termination of the
             Policy Period, arising out of an act or omission in the rendering of Legal Services by such Insured committed
             prior to the expiration of the Pol icy Period.
        3. Subpoena Assistance
             If during the Policy Period the Insu red receives a subpoena for documents or testimony arising out of Legal
             Services rendered by the Insured and the Insured would li ke the Insurer's assistance in responding to the
             subpoena , the Insured may provide the Insurer with a copy of the subpoena and the Insurer will retain an
             attorney to provide advice regarding the production of documents, to prepare the Insured for sworn testimony, and
             to represent the Insured at the lnsured's depositions, provided that:
             a.   the subpoena arises out of a lawsuit to which the Insured is not a party; and
             b.   the Insured has not been engaged to provide advice or testimony in connection with the lawsuit, nor has the
                  Insured provided such advice or testimony in the past.
             The Insurer will pay such attorney's legal fees excluding any disbursements . Any notice the Insured gives the
             Insurer of such subpoena shall be deemed notification of a potential Claim under section V. A. Notice of Claims.
        4.   Pre-C laim Assistance
             Until the date a Claim is made, the Insurer may pay for all costs or expenses it incurs, at its sole discretion, as a
             result of investigating a potential Claim that the Insured reports in accordance with section V. A. Notice of Claims,
             sub-paragraph 2. Such payments are in addition to the Limit of Liability and not subject to the deductible.
   F. Risk Management Incentives
        Mediation
             If mediation of a Claim takes place either without institution of arbitration proceeding or service of suit or within 60
             days of the institution of such proceedings or service of suit, and such Claim is ultimately resolved for an amount
             acceptable to the Insured and the Insurer by the process of mediation, the lnsured's deductible, applying to the
             Claim , will be reduced by 50%. In no event shall the amount of the deductible waived hereunder exceed $10,000.
Ill. Definitions
   Whenever printed in boldface type , and whether in the singular or plura l form in this Policy, the following terms shall have
   the meanings indicated below.
   A.   Bodily Injury means injury to the body, sickness or disease sustained by any person , including death resulting from
        such injuries; or mental injury, mental anguish , mental tension , emotional distress, pain or suffering or shock sustained
        by any person whether or not resulting from injury to the body , sickness, disease or death of any person.
   B. Claim means a demand for money or services , including the service of suit or the institution of any alternative dispute
      resolution proceeding, received by the Insured arising out of an act or omiss ion , including Personal Injury, in the
      rendering of, or failu re to render Legal Services.




LPL 39450 (10-14)                                                                                                    Page 3 of 10
The descriptions in the headings of this Policy are solely for convenience, and form no part of the terms and conditions of coverage .
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BERKLEY INSURANCE COMPANY
                                               ET§i~ie&S~~TI@M%tt43¥#WP~ ,
   C.   Claim Expenses means:
        1.   fees charged by attorneys designated by the Insurer or by the Insured with the Insurer's written consent;
        2.   all other reasonable and necessary fees, costs and expenses resulting from the investigation , adjustment, defense
             and appeal of a Claim if incurred by the Insurer, or by the Insured with the written consent of the Insurer
             including, but not limited to, premiums for any appeal bond, attachment bond or similar bond but without any
             obligation of the Insurer to apply for or furnish any such bond ;
        3.   all costs taxed against an Insured in defense of a Claim; or
        4.   all interest on the entire amount of any judgment which accrues after entty of the judgment and before the Insurer
             has paid that part of the judgment which does not exceed the Limit of Liability stated in Item 3. A . of the
             Declarations for each Claim.
        Claim Expense with respect to a covered Claim will be paid first and payment will reduce the amount available to pay
        Damages. Claim Expenses do not include fees, costs or expenses of employees or officers of the Insurer. Nor shall
        Claim Expenses include salaries, loss of earnings or other remuneration by or to any Insured.
   D.   Damages means judgments, awards and settlements (including pre-judgment interest), provided all settlements are
        negotiated with the assistance and approval of the Insurer. Damages also includes punitive and exemplary damages,
        and the multiple portions thereof, to the extent that such damages are insurable under the law of the most favorable
        applicable jurisdiction. Damages do not include:
        1.   legal fees, costs and expenses paid or incurred or charged by any Insured, no matter whether claimed as
             restitution of specific funds, forfeiture, financial loss, set-off or otherwise, and injuries that are a consequence of
             any of the foregoing;
        2.   civil or criminal fines, sanctions, penalties or forfeitures, whether pursuant to law, statute, regulation or court rule,
             including but not limited to awards under 18 U.S.C. §1961, et. seq., Federal Rules of Civil Procedure 11 or 28
             U.S.C. §1927 and state statutes, regulations, rules or law so providing, and inj uries that are a consequence of any
             of the foregoing;
        3.   injunctive or declaratory relief; or
        4.   any amount for which an Insured is absolved from payment by reason of any covenant, agreement or court order.
   E.   Disciplinary Proceeding means any pending disciplina1y matter including an initial inquiry, before a state or federal
        licensing board or a peer review committee to investigate charges alleging a violation of any rule of professional
        conduct in the performance of Legal Services.
   F.   Insured means the Named Insured, Predecessor Firm and the persons or entities described below:
        1.   any lawyer, partnership, professional corporation, professional association, limited liability company or limited
             liabi lity partnership who is or becomes a partner, officer, director, stockholder-employee, associate, manager,
             member or employee of the Named Insured during the Policy Period shown in the Declarations;
        2.   any lawyer previously affiliated with the Named Insured or a Predecessor Firm as a partner, officer, director,
             stockholder-employee, associate , manager, member or salaried employee but only for Legal Services performed
             on behalf of the Named Insured or a Predecessor Firm at the time of such affiliation;
        3.   any lawyer, law firm, partnership , professional corporation, professional association, limited liability company or
             limited liability partnership who acts as Of Counsel to the Named Insured or any non-employee independent
             contractor attorney to the Named Insured, but only for Legal Services rendered on behalf of the Named Insured
             and only if a fee inured or, in the event of a contingency fee, would have inured, to the Named Insured. No fee
             need inure to the Named Insured where pro bono Legal Services are rendered by such Of Counsel Insured
             where at the time of retention, there was approval by the appropriate committee or lawyer within the Named
             Insured that the matter wo uld be handled without compensation . Any lawyer, law firm, partnership , professional
             corporation, professional association, limited liability company or limited liability partnership who previously
             qualified as an Insured under sub-paragraph 1. above, but gave up the position of partner, officer, director,
             stockholder-employee, associate, manager, member or employee to act exclusively as Of Counsel to the Named
             Insured, will be deemed to be an Insured under sub-paragraph 1. above;
        4.   any person who is a former or current employee of the Named Insured or any Predecessor Firm and not a
             lawyer, but solely for services performed by such person within the course and scope of their employment by the
             Named Insured or any Predecessor Firm and provided that the services in dispute are Legal Services of the
             Named Insured or any Predecessor Firm;
        5.   the estate, heirs, executors, administrators , assigns, and legal r·epresentatives of an Insured in the event of such
             fnsured 's death , incapacity, insolvency or bankruptcy, but only to the extent that such Insured would have been
             provided coverage under this Policy; or




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The descriptions in the headings of this Policy are solely for convenience, and form no part of the terms and conditions of coverage.
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BERKLEY INSURANCE COMPANY
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        6.   the spouse or domestic partner of an Insured; provided , however, coverage is only afforded to such spouse or
             domestic partner only for a Claim arising solely out of their status as such and where such Claim seeks damages
             from marital community property , jointly held property or property transferred from an Insured to the spouse or
             domestic partner. No coverage is provided for any act or omission of an estate , heir, legal representative, assign ,
             spouse or domestic partner.
   G.   Insurer means the entity issuing this Policy as listed on the Declarations Page.
   H. Legal Services means:
        1.   those services, including pro bono services, performed by an Insured for others as a lawyer, arbitrator, mediator,
             title agent or other neutral fact finder or as a notary public. Any title agency or insurer, on whose behalf the Insured
             acts as title agent or designated issu ing attorney, is not an Insured under this Policy unless such title agency is a
             wholly owned subsidiary of the Named Insured;
        2.   those services performed by an Insured as an adm inistrator, conservator, receiver, executor, guardian , trustee or
             in any other fiduciary capacity;
        3.   those services performed by an Insured in their capacity as a member of a bar association, ethics, peer review,
             formal accreditation, licensing, or similar professional board or committee related to the legal profession, or
        4.   those services performed by an Insured as an author, strictly in the publication or presentation of research papers
             or similar materials and only if the fees, royalties or other revenue generated from such work are not greater than
             $10,000.
        For the purpose of this definition, services performed by an Insured in a lawyer-client relationship on behalf of one or
        more clients shall be deemed Legal Services in the lnsured's capacity as a lawyer, although such services could be
        performed wholly or in part by non-lawyers.
   I.   Named Insured means the persons and entities designated in Item 1. of the Declarations.
   J.   Personal Injury means an injury arising out of: false arrest, detention, or imprisonment; wrongful entry, or eviction , or
        other invasion of the right of private occupancy; libel , slander, or other disparaging or defamatory materials; a writing or
        saying in violation of an individual's right to privacy; malicious prosecution or abuse of process.
   K.   Policy Period means the period of time from the inception date shown in Item 2. of the Declarations to the earlier of the
        expiration date shown in Item 2. of the Declarations or the effective date of cancellation of this Policy.
   L.   Predecessor Firm means any sole proprietorship, partnersl1ip , professional corporation , professional association ,
        limited liability corporation or limited liability partnersl1ip engaged in Legal Services and:
        1.   to whose financial assets and liabilities the firm listed as the Named Insured in the Declarations is the majority
             successor in interest; or
        2.   of which the Named Insured retained 50% or more of the lawyers; or
        3.   was previously deemed to be a Predecessor Firm under the lawyers professional liability policy issued by the
             Insurer immediately preceding this Policy.
   M. Prior Insurer means an insurer, including the Insurer and any subsidiary or affiliate of the Insurer, who has issued a
      lawyers professional liability insurance policy that is applicable to a Claim, such policy having an inception date prior to
      the Policy Period.
   N.   Related Acts or Omissions means all acts or omissions in the rendering of Legal Services that are temporally,
        logically or causally connected by any common fact, circumstance, situation, transaction , event, advice or decision.
   O.   Related Claims means all Cla ims arising out of a single act or omission or arising out of Related Acts or Omissions
        in the rendering of Legal Services.
IV. Exclusions
   This Policy does not apply:
   A. Intentional Acts
        to any Claim based on, or arising out of, or in any way involving any dishonest, fraudulent, criminal , malicious act or
        omission or intentional wrongdoing by an Insured; provided, however:
        1.   this exclusion shall not apply to Personal Injury;
        2.   the Insurer shall provide the Insured with a defense of such Claim unless or until the dishonest, fraudulent,
             criminal , malicious act or omission or intentional wrongdoing has been determined by any trial verdict, cou1i ruling ,
             regulatory ruling or legal admission , whether appealed or not. Such defense will not waive any of the Insurer's
             rights under this Policy. Criminal proceedings are not covered under this Policy regardless of the allegations made
             against any Insured;
       3. this exclusion will not apply to any Insured who is not found to have personally committed the dishonest,
             fraudulent, criminal, malicious act or omission or intentional wrongdoing by any trial verdict , court ruling, or
             regulatory ruling.
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The descriptions in the headings of this Policy are solely for convenience, and form no part of the terms and conditions of coverage.
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BERKLEY INSURANCE COMPANY
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   B. Bodily Injury/ Property Damage
        to any Claim for Bodily Injury, or injury t_o , or destru_ction_ of, any tangible property, including the loss of use resulting
        therefrom, provided, however, th'.s exclusion for Bodily lnJury does not apply to mental injury, mental anguish, mental
        stress, humt11at1on or emotional distress caused by Personal Injury;
   C. Status as Beneficiary or Distributee
        to any loss sustained by an Insured or Claim made against an Insured as beneficiary or distributee of any trust or
        estate;
   D. Contractual Liability
        to any Claim based on, or arising out of, or in any way involving an lnsured's alleged liability under any oral or written
        contract or agreement, unless such liability would have attached to any Insured in the absence of such agreement;
  E. In sured vs. In sured
        to any Claim by or on behalf of an Insured under this Policy against any other Insured hereunder; unless such Claim
        arises out of Legal Services by an Insured rendered to such other Insured as a client;
  F. Capacity as Director, Officer, Fiduciary
        to any Claim based on, or arising out of, or in any way involving an lnsured's capacity as:
        1.   a former, existing or prospective officer. director, shareholder, partner, manager or member (or any equivalent
             position) of any entity if such entity is not named in the Declarations;
        2.   a trustee of a pension, welfare, profit-sharing, mutual or investment fund or investment trust ; or
        3.   a fiduciary under the Employee Retirement Income Security Act of 1974 and its amendments or any regulation or
             order issued pursuant thereto or any other sim ilar state or local law;
        provided, however, this exclusion does not apply to a Claim based on, or arising out of an lnsured's capacity as a
        member, director or officer of any professional legal association, including any Bar Association and any similar
        organization or association, its governing board or any of its committees;
   G. Capacity as Public Official
        to any Claim based on, or arising out of, or in any way involving an lnsured's capacity as a public official or an
        employee or representative of a governmental body, subdivision or agency unless such Insured is deemed as a matter
        of law to be a public official or employee or representative of such entity solely by virtue of rendering Legal Services to
        it;
   H. Owned Entity
        to any Claim based on, or arising out of, or in any way involving Legal Services performed, directly or indirectly, for
        any entity not named in the Declarations, if at the time of the act or omission giving rise to the Claim, the percentage of
        ownership interest, direct or indirect, in such entity by any Insured, or an accumulation of Insureds, exceeded 10%;
   I.   Funds Exclusion
        to any Claim based on, or arising out of, or in any way involving the actual or alleged conversion, misappropriation or
        improper commingling of cl ient funds;
   J. Securities Exc lu sion
        to any Claim based on, or arising out of, or in any way involving:
        1.   the promotion , sale or solicitation for sa le of securities, rea l estate, or other investments by any Insured; or
        2.   recommendations, representations, or opinions concerning specific investment advice by any Insured or any
             person or organization referred to by any Insured or any person or organization referred to by any Insured in
             connection with portfolio or trust account management , or the performance or nonperformance of securities, real
             estate, or other investments;
   K. Personal Profit Exclusion
        to any Claim based on, or arising out of, or in any way involving any Insured having gained any personal profit or
        advantage to which he or she was not legally entitled ;
   L. Employee Retirement Income Security Act Exclusion
        to any Claim based on, or arising out of, or in any way involving any actual or alleged violations of the Employee
        Retirement Income Security Act of 1974 and amendments thereto by any Insured while acting as a fiduciary with in the
        meaning of said Act; provided, however, this exclusion shall not apply to a Claim arising out of an act or omission
        committed by an Insured in the performance of Legal Services to a fiduciary as otherwise provided by the Policy.


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The descriptions in the headings of this Policy are solely for convenience, and form no part of the terms and conditions of coverage .
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BERKLEY INSURANCE COMPANY

V. Policy Conditions
   A. Notice of Claims
       1. Notifying the Insurer of Claims
            The Insured, as a cond ition precedent to the obligations of the Insurer under th is Policy , shall as soon as
            reasonably possible after learning of a Claim , give written notice to the Insurer during the Policy Period of such
            Claim . The Insurer agrees that the Insured may have up to, but not more than, 60 days after the expiration of the
            Policy Period to report a Claim made against the Insured during the Policy Period provided the reporting of such
            Claim is as soon as reasonably possible.
       2.   Notifying the Insurer of Potential Claims
            If during the Policy Period the Insured becomes aware of any act or omission that may reasonably be expected to
            be the basis of a Claim against the Insured and gives written notice to the Insurer of such act or omission and the
            reasons for anticipating a Claim with full particulars , including but not limited to :
            a.   the specific act or omission;
            b.   the dates and persons invo lved;
            c.   the identity of anticipated or possible claimants; and
            d.   the circumstances by which the Insured first became aware of the possible Claim ;
            then any such Claim that arises out of such reported act or omission and that is subsequently made against the
            Insured and reported to the Insurer sha ll be deemed to have been made at the time such written notice was given
            to the Insurer.
   B. Reimbursement of the Insurer
       Subject to the lnsured's right to consent to settlement as set forth in section I. C. Settlement, if the Insurer, in the
       exercise of its discretion and without any obligation to do so, pays any amount within the amount of the deductible then
       such amounts shall , upon written demand by the Insurer, be paid by the Named Insured within 30 days. If the Named
       Insured fails to pay the deductible, then all the Insureds shall be jointly and severally obligated to pay the deductible.
       Any funds advanced by the Insurer, at its option, sha ll serve to reduce the Limit of Liability. If the Insurer brings suit to
       collect the deductib le, then the Insured responsible to pay the deductible also shall pay the legal fees , costs and
       expenses incurred by the Insurer to collect the deductible.
   C. Territory
       This Policy applies to an act or omission taking place anywhere in the world, provided that the Claim is made and suit
       is brought aga inst the Insured within the United States of America, including its territories, possessions , Puerto Rico or
       Canada.
   D. Oth er Insurance
       Any Claim insured under any other insurance policy or risk transfer instrument which appl ies to a covered Claim , shall
       be paid first by those instruments, policies or other arrangements. This Policy will not serve as primary insurance where
       there is other applicable insurance. It is the intent of this Policy to apply only to Claim Expenses and / or Damages
       which are more than the total limit of all deductibles, limits of liabi lity, self-insured amounts or other valid and collectible
       insurance or risk transfer arrangements, whether primary , contri butory, excess, contingent, or otherwise. This Policy will
       not contribute with any other applicable insurance.
       Notwithstanding the foregoing, if two or more policies of Lawyers Professional Liability Insurance issued by the Insurer
       covering the Insured apply to the same Claim for which the Insured is jointly and severally liable, the Insurer shall not
       be liable under th is Policy for a greater proportion of such Damages and / or Claim Expenses than the Insurer's
       liability under this Policy bears to the Insurer's total liability under al l applicable valid and collectible insurance issued
       by the Insurer. Further, the Insurer shall not pay on the lnsured's behalf any sum that exceeds the highest limit of
       liability of the Policies issued by the Insurer. In such ci rcumstances, the Insured will not be responsible under this
       Policy for a greater proportion of the deductible than the lnsured's responsibi lity under this Policy bears to the
       lnsured's total responsibil ity for all applicable deductibles, provided that the Insured will not be responsible for any
       amount that exceeds the deductible of that Pol icy issued by the Insurer that has the highest applicable deductible.




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The descriptions in the headings of this Policy are solely for convenience, and form no part of the terms and conditions of coverage.
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BERKLEY INSURANCE COMPANY
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   E. Assistance and Cooperation of the Insured
        1.   The lnsu_red shall cooperate with the Insurer and , upon the Insurer's request. shall attend hearings and trials and
             shall assist 1n effecting settlements , securing and giving of evidence, obtaining the attendance of witnesses , and
             the conduct of suits and proceedings in connection with a Claim .
        2.   The Insured shall assist in the enforcement of any right of contribution or indemnity against any person or
             organization who or which may be liable to any Insured in connection with a Claim.
        3.   The Insured shall not, except at its own cost. voluntarily make any payment, assume or admit any liability or incur
             any expense without the consent of the Insurer.
   F. Action Again st the Insurer
        No action shall lie against the Insurer by any third party, unless, as a condition precedent thereto:
        1.   there shall have been full compli ance with all the terms of this Policy; and
        2.   the lnsured's obligation to pay shall have been fina lly determined either by judgment against the Insured after
             actual trial or by written ag reement of the Insured , the claimant and the Insurer.
        Any person or organization or the lega l representative thereof who has secured such ju dgment or written agreement
        shall thereafter be entitled to recover under this Policy to the extent of the insurance afforded by this Pol icy. No person
        or organization shall have any right under th is Pol icy to join the Insurer as a party to any action against an Insured, nor
        shall the Insurer be impleaded by the Insured or his legal representative.
   G. Bankruptcy or Insolvency
        Bankruptcy or insolvency of the Insured or of the lnsured's estate shall not relieve the Insurer of any of its obligations
        hereunder.

   H. Subrogation
        In the event of any payment under this Policy, the Insurer shall be subrogated to all the lnsured's rights of recovery
        thereof against any person or organization. The Insured shall execute and deliver instruments and papers and do
        whatever else is necessary to secure and col lect upon such rights. The Insured shall do nothing to prejudice such
        rights.
   I.   Changes
        Notice to any of the Insurer's agents or knowledge possessed by any such agent or any other person shall not act as a
        waiver or change in any part of this Policy. It also will not prevent the Insurer from asserting any rights under the
        provisions of this Policy. None of the provisions of this Policy will be waived, changed or modified except by written
        endorsement, issued to form a part of this Policy.
   J. Assignment
        No assignment of interest of the Insured under this Policy shall be valid , un less the written consent of the Insurer is
        endorsed hereon.
   K. Cancellation/ Nonrenewal
        1.   This Policy may be canceled by the Named Insured by returning it to the Insurer. The Named Insured may also
             cancel this Policy by written notice to the Insurer stating at what future date cancellation is to be effective.
        2.   The Insurer may cancel or non-renew this Policy by written notice to the Named Insured at the address last
             known to the Insurer. The Insurer will provide written notice at least 60 days before cancellation or non-renewal is
             to be effective. If the Insurer cancels this Policy because the Insured has failed to pay a premium when due or
             has failed to pay amounts in excess of the limit of the Insurer's liability or with in the amount of the deductible, this
             Policy may be canceled by the Insurer by mailing to the Named Insured written notice stating when, not less than
             1O days thereafter, such cancellation shall be effective, The time of surrender of this Policy or the effective date
             and hour of cance llation stated in the notice shall become the end of the Policy Period. Delivery (where perm itted
             by law) of such written notice either by the Named Insured or by the Insurer shall be equivalent to mailing.
        3.   If the Insurer cancels th is Policy, the earned premium shall be computed pro rata. If the Named Insured cancels
             this Policy, the Insurer shall retain the customary short rate proportion of the premium. Premium adjustment may
             be made either at the time cancellation is effected or as soon as practicable after cancellation becomes effective ,
             but payment or tender of unearned premium is not a condition of cancellation.
        4.   The offering of terms and conditions different from the expiri ng terms and conditions shall not constitute a refusal
             to renew.




LPL 39450 (10-14)                                                                                                    Page 8 of 10
The descriptions in the headings of this Policy are solely for convenience, and form no part of the terms and conditions of coverage.
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BERKLEY IN SURANCE COMPANY

   L. Entire Contract
        By acceptance of this Policy the Insured agrees that:
        1.   al l of the information and statements provided to the Insurer by the Insured are true, accurate and complete and
             shall be deemed to constitute material representations made by all of the Insureds; and
       2.    this Policy is issued in reliance upon the lnsured's representations; and
       3.    this Policy , endorsements thereto, together wi th the completed and signed application and any and all
             supplementary information and statements provided by the Insured to the Insurer (a ll of which are deemed to be
             incorporated herein) embody all of the agreements existing between the Insured and the Insurer and shall
             constitute the entire contract between the Insured and the Insurer; and
       4.    any material misrepresentation or fra ud made by the Insured or with the lnsured's knowledge in applying for this
             Policy or in pursuing a Claim under this Policy shal l be deemed grounds for denial of coverage or cancellation of
             this Policy.
   M. Named Insured as Sole Agent
       The Named Insured shall be the sole agent of all Insureds hereunder for the purpose of effecting or accepting any
       notices hereunder, any amendments to or cancellation of this Policy, for the completing of any applications and the
       making of any statements, representations and warranties, for the payment of any premium and the receipt of any
       return prem ium that may become due under th is Policy, and the exercis ing or declining to exercise any right under this
       Policy.
   N. Liberalization
       If at any time during the Poli cy Period the Insurer adopts any revision that wou ld broaden coverage under this Policy
       form LPL 39450 without additional premium, such broadened coverage will immediately apply to this Policy for Claims
       made and reported to the Insurer: 1) after the effective date such revision was filed and approved in the state in which
       the Insured is domiciled; and 2) during the Policy Period . In no event shall such revision apply to Claims that were
       first made against the Insured prior to the effective date of such revision.
   0 . Notices
       Any notices required to be given by an Insured shall be su bmitted in writing to the Insurer or its authorized
       representative. If mailed, the date of mailing of such notice shall be deemed to be the date such notice was given and
       proof of mailing shall be sufficient proof of notice.
   P. Trade and Economic Sanctio ns
       This policy does not provide coverage for Insureds , transactions or that part of Damages or Claim Expenses that is
       uninsurable under the laws or regulations of the United States concerning trade or economic sanctions .
   Q. Changes to the Firm
       If during the Policy Period there is a 50% or greater change in the Named lnsured's total lawyer population, then the
       Named Insured shall give the Insurer written notice of such changes as soon as practicable but not later than 60 days
       after the effective date of such change. The Named Insured shall accept any prem ium adjustment or coverage
       revisions which the Insurer may require.
   R. Policy Headings
       The descriptions in the headings of this Policy are solely for convenience, and fo rm no part of the terms and conditions
       of coverage .
VI. Extended Reporting Periods
        As used herein, "Extended Reporting Period" means the period of time after the end of the Policy Period for reporting
        Claims that are first made against the Insured during the applicable Extended Reporting Period by reason of an act or
        omission that occurred prior to the end of the Policy Period and is otherwise covered by this Policy.
   A. Automatic Extended Reporting Period
        1.   If this Policy is canceled or non-renewed by either the Insurer or by the Named Insured, the Insurer will provide
             to the Named Insured an automatic, non-cancelable 60 day Extended Reporting Period starting at the termination
             of the Policy Period only if there is no other policy or pol icies that wo uld otherwise provide insurance for such act
             or omission . This Automatic Extended Reporting Period will terminate after 60 days.
        2.   The Insurer's liability for all Claims reported during the Automatic Extended Reporting Period shall be part of and
             not in addition to the Lim it of Liability for the Policy Period as set forth in the Declarations and section II. Limit of
             Liabil ity and Deductible.



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The descriptions in the headings of th is Policy are so lely for convenience, and form no part of the terms and conditions of coverage.
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BERKLEY I NSURANCE COMPANY

  B. Optional Extended Reporting Period
       ·1 .   If this Policy is canceled or non-renewed by either the Insurer or by the Named Insured , then the Named Insured
              shall have the right to purchase an Optional Extended Reporting Period. Such right mu si be exercised by the
              Named Insured within 60 days of the termi nation of the Policy Period by providing:
              a.   written notice to the Insurer; and
              b.   with the written notice, the amount of additional premium described below.
       2.     The additiona l premium for the Optional Extended Repo1iing Period shall be based upon the rates for such
              coverage in effect on the date this Policy was issued or last renewed and shall be for 1 year at 100% of such
              premium; 2 years at 150% of such premium ; 3 years at 175% of such premium ; 6 years at 225% of such premium ;
              or an unlimited period for 250% of such premium.
       3.     The premium for the Optional Extended Reporting Period is due on its effective date. Th is Optional Extended
              Reporting Period is non-cance lable and the entire prem ium sha ll be deemed fu lly earned at its commencement
              without any obligation by the Insurer to re turn any portion thereof.
       4.     The Insurer's liability fo r all Claims reported duri ng the Optional Extended Reporting Period shall be part of and
              not in addition to the Limit of Liability for the Policy Period as set fort h in the Declarations and section II. Limit of
              Liability and Deductible.
  C. Elimination of Right to any Extended Reporting Period
       There is no right to any Extended Reporting Period:
       1.     if the Insurer shall cancel or refuse to renew this Policy due to:
              a.   non-payment of premiums;
              b.   non-compliance by an Insured with any of the terms and conditions of this Policy; or
              c.   any misrepresentation or omission in the application fo r this Policy ;
       2.     if during the Policy Period such lnsured's right to practice law is revoked , suspended or surrendered at the
              request of any reg ulatory authority .
   D. Extended Reporting Period is Not a New Policy
       It is understood and agreed th at th e Extended Reporti ng Period sha ll not be construed to be a new po li cy and any
       Claim submitted during such period shall otherwise be governed by this Policy.
   In witness whereof, th e Insurer has caused th is Policy to be signed by its President and Chief Executive Officer and
   Secretary , but this Policy shall not be valid un less countersigned on the Declarations Page by a duly authorized
   representative of the Insurer.


                        ~                                                                      /1;r--
                              President                                                            Secretary




LPL 39450 (10-14)                                                                                                      Page 10 of 10
The descriptions in the headings of this Policy are solely for convenience, and form no part of the tenns and conditions of coverage.
